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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:05CR163
                      Plaintiff,                    )
                                                    )
       vs.                                          )              ORDER
                                                    )
JAZMIN CERNA,                                       )
DANIEL CERNA,                                       )
ADAM SALINAS TREVINO,                               )
DANIEL LEE WALKER and                               )
CLEO JO WALKER,                                     )
                                                    )
                      Defendants.                   )


       This matter is before the court on the oral request of defendant Jazmin Cerna for
additional time to file pretrial motions. The oral motion was made at the time of the revocation
of release hearing on June 27, 2005. The request was granted as to Jazmin Cerna, and
Jazmin Cerna was given to July 7, 2005, in which to file pretrial motions. The additional time
arising as a result of the granting of the request, i.e., the time between Cerna’s original motion
deadline, May 23, 2005, and July 7, 2005, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that counsel
require additional time to adequately prepare the case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       IT IS SO ORDERED.
       IT IS FURTHER ORDERED that all pending pretrial motions in this matter by any
defendant shall be heard at an evidentiary hearing before the undersigned magistrate judge
at 3:00 p.m. on July 18, 2005, in Courtroom No. 7, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska. All defendants who have motions then
pending shall be present for such hearing.
       DATED this 27th day of June, 2005.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
